        CASE 0:20-cv-01906-WMW-KMM Doc. 50 Filed 06/15/21 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
ELISABETH CLEVELAND, on behalf of
herself and all others similarly situated,

               Plaintiff,                     Case No. 20-cv-1906-WMW-KMM
       v.

WHIRLPOOL CORPORATION,

               Defendant.



              NOTICE OF FIRM NAME AND EMAIL ADDRESS CHANGE

       TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:

       PLEASE TAKE NOTICE that effective immediately, the contact information for

Gregory F. Coleman and Rachel Soffin, attorneys for Plaintiff and class, will be as follows:

       Gregory F. Coleman
       Rachel Soffin
       MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN, PLLC
       800 S. Gay Street, Suite 1100
       Knoxville, TN 37929
       Telephone: 865-247-0080
       Facsimile: 865-522-0049
       gcoleman@milberg.com
       rsoffin@milberg.com

Dated: June 15, 2021                                Respectfully submitted,

                                               By: s/Rachel Soffin
                                                   Gregory F. Coleman
                                                   Rachel Soffin
                                                   MILBERG COLEMAN BRYSON
                                                   PHILLIPS GROSSMAN, PLLC
                                                   800 S. Gay Street, Suite 1100
                                                   Knoxville, TN 37929
                                                   Telephone: 865-247-0080
                                                   Facsimile: 865-522-0049
                                                   gcoleman@milberg.com
                                                   rsoffin@milberg.com
       CASE 0:20-cv-01906-WMW-KMM Doc. 50 Filed 06/15/21 Page 2 of 2




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Notice of Firm Name and
Email Change was served by CM/ECF to the parties registered to the Court’s CM/ECF system.
This the 15th day of June, 2021.

                                           s/Rachel Soffin
                                           Rachel Soffin
                                           [MILBERG COLEMAN BRYSON PHILLIPS
                                           GROSSMAN, PLLC
